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                        UNITED STATES COURT OF INTERNATIONAL TRADE
____________________________________________________________
                                                                :
 TRACTOR SUPPLY COMPANY                                         :
                                                                :
                                                                :
                                   Plaintiff,                   :
                                                                :
                                   v.                           :        Court No. 20-02719
                                                                :
 UNITED STATES;                                                 :
 OFFICE OF THE UNITED STATES TRADE                              :
 REPRESENTATIVE;                                                :
 U.S. CUSTOMS & BORDER PROTECTION;                               :
                                                                ::
                                                                 :
                                   Defendants.                   :
                                                                :

                                     NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that, pursuant to Rule 75(b) of the Rules of the United States

Court of International Trade, the undersigned appears as attorney for plaintiff Tractor Supply Company in

this action and requests that all papers be served on her.

         The individual attorney who is responsible for the litigation is Douglas N. Jacobson of

Jacobson Burton Kelley PLLC.


Dated: September 20, 2020
                                                  /s/ Doreen Edelman
                                                  Doreen Edelman
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